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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                             )
G.K, by their next friend, Katherine         )
Cooper, et al.                               )
                                             )
                       Plaintiffs,           )
v.                                           )                Case No. 1:21-cv-0004
                                             )
Christopher Sununu, in his official capacity )
as the Governor of New Hampshire, et al. )
                                             )
                       Defendants.           )
___________________________________ )

           DECLARATION OF JULIA M. SIEGENBERG IN SUPPORT OF
        DEFENDANT’S OBJECTION TO PLAINTIFFS’ MOTION TO COMPEL

       1.      My name is Julia M. Siegenberg, and I am outside counsel for Defendants in the

above-captioned matter.

       2.      At a hearing on August 11, 2022, Magistrate Judge Johnstone asked Defendants to

estimate the time spent by the Department of Health and Human Services (“DHHS”) to produce

various components of the Case File documents for the four named Plaintiffs in this litigation, in

order to estimate the time needed to produce similar information for approximately 180 youth aged

14 to 17 who are potentially members of the putative class.

       3.      For the Court’s convenience, the estimates provided herein are summarized in an

Appendix.

I.   Time and Resources Required for Production of Named Plaintiffs’ Case File
     Documents

       4.      Based on my review of documents produced by Defendants, the average number of

pages produced for each named Plaintiff’s Case File was 3,902. The total number of pages

produced in the initial production for each named Plaintiff’s Case File was as follows:


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                a. GK: 805 total pages

                b. CI: 7,670 total pages

                c. TL: 4,306 total pages

                d. RK: 2,828 total pages

        5.      These Case File documents for the four named Plaintiffs can be separated into three

different categories, based on how the documents are stored: (A) Physical File, (B) E-Folder, and

(C) Bridges Contact Log reports.

        A.      Physical File

        6.      Caseworkers maintain a Physical (paper) File containing Case File documents for

children in foster care.

        7.      To produce the Case File documents for each of the four named Plaintiffs, DHHS

staff identified, located and gathered the paper Case File documents maintained in the Physical

Files of each named Plaintiff.

        8.      DHHS staff manually scanned these paper documents to create an electronic copy

of the respective Physical Files that could be sent to DHHS counsel for review and production.

        9.      The District Office supervisors who oversaw the production of the Case Files

for the named Plaintiffs provided me with the following estimates of DHHS staff time spent

to preparing the respective Physical Files that for review by DHHS counsel:

                a. GK: 5 hours.

                b. CI: 10 to 11 hours.

                c. TL: 10 to 12 hours.

                d. RK: 5 hours.

        10.     That is, according to estimates provided by the District Office supervisors, it

took DHHS staff an average of approximately 7.87 hours to create an electronic copy of a
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Physical File.

       11.       The estimates in the preceding paragraphs do not include the time spent by DHHS

counsel to review the information from the Physical File for each of the named Plaintiffs in

preparing the documents for production.

       B.        E-Folder

        12.      Case File documents can be stored electronically in Bridges by scanning and

uploading the document to Bridges using the Document Imaging application. Every document

that is scanned and uploaded through Document Imaging is indexed or tagged to associate it with

at least one client identification number and one case identification number. Each such document

is stored in the individual child’s “E-Folder”.

        13.      To produce the E-Folder documents for each of the four named Plaintiffs, DHHS

staff undertook the following actions:

                 a. In Bridges, select “Documents” in the tool bar. In the Document Imaging menu,

                    select “E-Folder”. This brings the worker to the E-Folder search screen.

                 b. On the E-Folder search screen, the worker must fill in the search criteria to

                    search by client identification number. This will generate a list of all documents

                    scanned through Document Imaging that are indexed with the individual child’s

                    client identification number.

                 c. The worker must then open each individual document separately and then

                    download that individual document to a local drive. Once downloaded, the

                    worker can electronically send the document to DHHS counsel for review and

                    production.

       14.       Based on my review of documents produced by Defendants, and discussion with

DHHS staff familiar with the Document Imaging process, the four named Plaintiffs had an average
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of 137 documents in their E-Folders. The total number of documents and corresponding pages

produced from each named Plaintiff’s E-Folder is approximately as follows:

               a. GK: 40 documents, totaling 167 total pages

               b. CI: 248 documents, totaling 1,186 total pages

               c. TL: 129 documents, totaling 784 total pages

               d. RK: 131 documents, totaling 561 total pages

       15.     In June 2019, DHHS began implementing Document Imaging capabilities on a

rolling basis by District Office. It is my understanding that DHHS staff operationalized Document

Imaging on a prospective basis. In other words, paper documents in a child’s Physical File prior

to implementation of Document Imaging within a particular District Office were generally not

scanned and uploaded to Bridges; only paper documents that were created or received by the

caseworker after the implementation of Document Imaging within a particular District Office were

scanned and uploaded.

       16.     Based on my review of the documents, it appears that the earliest date that

documents were scanned through Document Imaging and stored in each named Plaintiff’s E-

Folder are as follows:

               a. GK: November 8, 2019

               b. CI: November 25, 2019

               c. TL: October 16, 2019

               d. RK: October 31, 2019

       17.     The District Office supervisors who oversaw the production of the Case Files

for the named Plaintiffs provided me with the following estimates of DHHS staff time spent

to produce the documents in the E-Folder for each of the named Plaintiffs:



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               a. GK: 1.5 hours.

               b. CI: 3 hours.

               c. TL: 7.5 hours.

               d. RK: 1.5 hours.

       18.     That is, according to estimates provided by the District Office supervisors, it

took DHHS staff an average of 3.4 hours for each named Plaintiff to produce the documents

in the E-Folder to DHHS counsel for review.

       19.     The estimates in the preceding paragraphs do not include the time spent by DHHS

counsel to review the information from the E-Folder for each of the named Plaintiffs in preparing

the documents for production.

       C.      Bridges Contact Log Report

       20.     There are several electronic “reports” that automatically populate with information

from Bridges. The Contact Log report provides information regarding every contact and visit

associated with a case identification number.

       21.     To produce the Case File documents for each of the four named Plaintiffs, DHHS

staff searched for and collected the Contact Log reports of each named Plaintiff. To do so, DHHS

staff undertook the following actions:

               a. The worker must search in Bridges for each case identification number

                  associated with the named Plaintiff.

               b. Once in the specific case, select “Contact” in the tool bar. This will display the

                  Contact Log for the case and allow for it to be printed as a report.

               c. The worker must then download the Contact Log report to a local drive. Once

                  downloaded, the worker can electronically send the document to DHHS counsel

                  for review and production.
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       22.    Based on my review of documents produced by Defendants, the average number of

pages for the named Plaintiffs’ Contact Log reports is 541 pages. The total number of pages

produced for each named Plaintiff’s Contact Log reports is approximately as follows:

              a. GK: 88 pages

              b. CI: 1,240 pages

              c. TL: 162 pages

              d. RK: 675 pages

       23.    The District Office supervisors who oversaw the production of the Case Files

for the named Plaintiffs provided me the following estimates of DHHS staff time spent to

produce the information in the Contact Logs for each of the named Plaintiffs:

              a. GK: 40 minutes.

              b. CI: 30 minutes.

              c. TL: 30 minutes.

              d. RK: 40 minutes.

       24.    That is, according to estimates provided by the District Office supervisors, it

took DHHS staff an average of 35 minutes to produce the information in the Contact Logs

for each named Plaintiff.

       25.    The estimates in the preceding paragraphs do not include the time spent by DHHS

counsel to review the information from the Contact Logs for each of the named Plaintiffs in

preparing the documents for production.

II.   Additional Bridges Information that may be Available

       26.    Information that is entered into the Bridges application is stored in data tables that

correspond to the various Bridges screens and information fields.

       27.    A data dictionary provides all of the data tables and fields used by DHHS to run
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reports and query information electronically entered through Bridges. The current data dictionary

shows over 500 data tables containing over 14,000 fields of information.

       28.      Counsel for DHHS recently learned that there may be a way to extract data entered

into Bridges for each of the named Plaintiffs by creating a new computer code to query data tables

based on the unique client identification numbers of each of the named Plaintiffs.

       29.      DHHS and New Hampshire’s Department of Information Technology are in the

process of creating and testing a computer code to determine if there is a way to extract and produce

this Bridges data about the named Plaintiffs. If this is possible without undue burden, this Bridges

data will be provided to Plaintiffs’ counsel as a supplement to the earlier production.

III. Additional Time Related to Redaction

       30.      The above estimates related to the named Plaintiffs do not include any attorney or

other time necessary to redact personally identifiable information. DHHS feels very strongly that

any additional Case File documents produced without written consent of the child and biological

parent(s) would need to be redacted to remove information that identifies the child or their

parent(s). This concern is rooted not only in the state law confidentiality provisions generally, see

N.H. Rev. Stat. Ann. § 170-G:8-a, but also the critical purposes those confidentiality provisions

serve, including the encouragement of reporting of child abuse and neglect by community

members who rely on the promise of confidentiality and DHHS’s ability to build and maintain

trusting relationships with the children and families who receive child protective services. DHHS

does not believe that these concerns are satisfied through the Protective Order.

       31.      DHHS is presently evaluating whether to notify all non-party children whose

records are produced to Plaintiffs’ Counsel of that disclosure, if the Court orders production of

such records.

       32.      Based on the Case File production for the four named Plaintiffs, in the event DHHS
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were ordered to produce additional Case Files, counsel estimates that, on average, an additional

50 hours per child would be required to redact personally identifiable information.

IV. Data Production Related to Putative Class Members

       33.     In response to Plaintiffs’ interrogatories, Defendants have produced to Plaintiffs the

following individualized data related to each foster youth, aged 14 to 17, in the legal custody or

protective supervision of DCYF, as of January 12, 2022:

               a. Age

               b. Gender

               c. Ethnicity

               d. County

               e. Psychiatric diagnosis

               f. Psychiatric history

               g. Psychiatric recommendation

               h. Date entered into custody

               i. Date left custody

               j. Start and end date of each placement

               k. Placement type for each placement

               l. If there were siblings in foster care

               m. Mental health characteristics documented

               n. Date mental health characteristics documented

       34.     Defendants are working to produce the same set of data points listed in the

preceding paragraph, but updated to be as of April 26, 2022. In addition to the data points listed

in the preceding paragraph, this updated data set will also include two new data points for each

foster youth, aged 14 to 17, in the legal custody or protective supervision of DCYF:
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               a. Medical history

               b. Medication history

        35.    Defendants have produced the following aggregate data related to all foster youth,

aged 14 to 17, in the legal custody or protective supervision of DCYF in 2018 through 2021, by

year:

               a. Number of children in each placement type

               b. Number of placements in each placement type

               c. Number of distinct providers for each placement type

               d. Number of placements or “beds” available for each placement type

               e. Payments to foster care placement providers by placement type

        36.    Defendants are working to produce data related to the number of foster youth, aged

14 to 17, in the legal custody or protective supervision of DCYF, entering extended foster care, by

placement type, between 2018 and the present.

        37.    Defendants are working to produce the following individualized data related to each

foster youth, aged 14 to 17, who exited DCYF legal custody or protective supervision in 2020 and

2021:

               a. Dates of entry into and exit from foster care

               b. Dates of entry into and exit from each placement

               c. Number of placements by placement type

               d. Number of days placed in a residential treatment setting, by level of care

               e. Number of days placed in a community-based placement, by placement type

        38.    DHHS maintains regular data reports containing the following information, and are

willing and able to produce such data reports to Plaintiffs, if requested by Plaintiffs through an



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appropriate discovery request:

              a. Maltreatment in care: children in foster care who have experience maltreatment

                  while in care

              b. Permanency: children in foster care who achieve permanency in 12, 18 and 24

                  months

              c. Placement stability: placement moves for children in foster care, per 1000 days

                  in care

              d. Discharge reason: children leaving foster care by exit or “discharge” reason

              e. Initial placement with relatives: children entering foster care that were placed

                  with relatives upon removal

              f. Caseworker visits: months during which children had at least one face-to-face

                  visit with their caseworker

              g. Placement count: number of placements for children in foster care

              h. Placement location: children in a placement setting located in the same or

                  adjoining county from which they were removed

              i. Placement setting: placement moves to a less restrictive or more restrictive

                  placement type

              j. Placement type: children in foster care by placement type

              k. Sibling placement: children in foster care who are placed with at least one or all

                  of their siblings

       39.    To date, Plaintiffs have not requested any of the data reports described in the

preceding paragraph.

V.   Electronic Communication Production Related to Named Plaintiffs

       40.    To the extent it is helpful in assessing the burden of Plaintiffs’ request for all
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“communications concerning each child, their Case Plan, or their care,” at the August 11, 2022

hearing, Defendants offered to estimate the time spent by DHHS counsel to produce electronic

communications related to the named Plaintiffs thus far.

       41.    The parties are still in the process of negotiating search terms for electronic

communications, using the e-mail inboxes of nine custodians to run proposed search terms. Of the

nine custodians, two are caseworkers.

       42.    Plaintiffs proposed search terms related to each of the four named Plaintiffs. The

total number of documents containing the named Plaintiff-specific terms is as follows:

              a. GK: 1,086 documents

              b. CI: 2,023 documents

              c. TL: 56,153 documents

              d. RK: 2,701 documents

       43.    Of the 1,086 documents containing the proposed search terms specific to GK, 610

documents were produced as responsive to Plaintiffs’ Requests for Production of Documents and

not protected by privilege. DHHS counsel estimate that they spent approximately 20 hours

reviewing, redacting and producing these documents.



       I swear under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.

       Respectfully submitted,

                                                                           DATE: August 18, 2022

       /s/ Julia M. Siegenberg
       Julia M. Siegenberg


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                                             Appendix


             GK              CI              TL             RK              Average
Physical     Pages: 550      Pages: 5,244    Pages: 3,360   Pages: 1,592    Pages: 2,686
File
(¶¶ 9-10)    Time: 5 hours   Time: 10-11     Time: 10-12    Time: 5 hours   Time: 7.87
                             hours           hours                          hours
E-Folder     Pages: 167      Pages: 1,186    Pages: 784     Pages: 561      Pages: 674
(¶¶ 14,
17-18)       Documents:      Documents:      Documents:     Documents:      Documents:
             40              248             129            131             137

             Time: 1.5       Time: 3 hours   Time: 7.5      Time: 1.5       Time: 3.4
             hours                           hours          hours           hours
Contact      Pages: 88       Pages: 1,240    Pages: 162     Pages: 675      Pages: 541
Logs
(¶¶ 22-24)   Time: 40        Time: 30        Time: 30       Time: 40        Time: 35
             minutes         minutes         minutes        minutes         minutes
Total        Pages: 805      Pages: 7,670    Pages: 4,306   Pages: 2,828    Pages: 3,902
(¶¶ 4)
             Time: 7.17      Time: 14        Time: 18-20    Time: 7.17      Time: 11.83
             hours           hours           hours          hours           hours




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                                     CERTIFICATE OF SERVICE

       I, Julia Siegenberg, hereby certify that I caused a true and correct copy of the foregoing to

be filed through the ECF system and served electronically on the registered participants as

identified on the Notice of Electronic Filing.

       August 18, 2022                                       /s/ Julia M. Siegenberg
                                                             Julia M. Siegenberg




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